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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS F I L. E D
EASTERN DIVISION
: APR 1 9 2012
JOHN FULTON, ANTHONY MITCHELL, _) AR | /
and ANTONIO SHAW, ) JON RE OZ
) U.S. DISTRICT COURT JUDGE
Plaintiff, )
) No. 07 C 5569
vs. )
) Judge John W. Darrah
DET. ZALATORIS #20919, DET. L. )
ROLSTON #20101, J. BREEN #60051, )
DET J. STRUCK #20857, DET R. )
GIRARDI #20479 and DET. E. WINSTEAD _)
#20019, individually, )
)
Defendants. )

RELEASE AND SETTLEMENT AGREEMENT

Plaintiff, Antonio Shaw, by one of his attorneys, Gregory Kulis, and the City of Chicago,
by its attorney, Stephen Patton, Corporation Counsel of the City of Chicago, and defendants,
Joseph Struck, James Breen, Edward Winstead, Robert Girardi, Leonard Ralston and John
Zalatoris, by one of their attorneys, Robin Shoffner, herein stipulate and agree to the following:

l. This action has been brought by plaintiff, Antonio Shaw, against defendants,
Joseph Struck, James Breen, Edward Winstead, Robert Girardi, Leonard Ralston and John
Zalatoris, and makes certain allegations contained in plaintiff's complaint.

2, Defendants deny each and every allegation of wrongdoing as stated in plaintiff's
complaint, and, further, deny liability.

3. The parties and their respective attorneys acknowledge that settlement of this
claim is not an admission of liability, or of unconstitutional or illegal conduct by or on the part of
any defendant and/or the City of Chicago and/or its future, current or former officers, agents and

employees, and shall not serve as evidence of any wrongdoing by or on the part of any defendant

 

 
 

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and/or the City of Chicago and/or its future, current or former officers, agents and employees.
The parties and their respective attorneys further acknowledge that settlement is made to avoid
the uncertainty of the outcome of litigation and the expense in time and money of further
litigation and for the purpose of judicial economy.

4, In consideration of this settlement entered pursuant to this Release and Settlement
Agreement, and upon advice of counsel, plaintiff, Antonio Shaw, agrees to dismiss with
prejudice all of their claims against defendants, Joseph Struck, James Breen, Edward Winstead,
Robert Girardi, Leonard Ralston and John Zalatoris, with each side bearing its own costs and
attorneys’ fees.

5. Plaintiff, Antonio Shaw, accepts a settlement from the City of Chicago, in the
total amount of FORTY-FIVE THOUSAND AND NO/100 DOLLARS ($45,000.00), with each
side bearing its own costs and attorneys’ fees.

6. The City agrees to pay plaintiff the total settlement amount as specified in
paragraph 5 herein within sixty (60) days of receipt by the Corporation Counsel’s Office of all
Confidential Matter tendered to plaintiff and his counsel by defendants under any and all
protective orders entered in this matter, a court-entered order dismissing this case with prejudice,
a court-entered stipulation of dismissal, a fully executed settlement agreement, and any other
court-entered order necessary for the disposition of funds, whichever is received later. This sum
shall be payable solely by the City of Chicago, and plaintiff and his attorneys agree that they will
not seek payment from any source other than the City of Chicago. The settlement check will be

made payable to plaintiff, his attorneys, and lien claimants, if any, of which the City has notice.

 

 
 

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7. In consideration of this settlement entered pursuant to this Release and Settlement
Agreement, and upon advice of counsel, plaintiff agrees to indemnify and hold harmless the City
of Chicago, and its future, current or former officers, agents and employees including, but not
limited to, defendants, Joseph Struck, James Breen, Edward Winstead, Robert Girardi, Leonard
Ralston and John Zalatoris, from any claims, losses, damages or expenses, including attorneys'
fees and costs, incurred, or which may be incurred, by reason of any lien or any other claim or
interest held by any person, entity or corporation against any moneys received or to be received
by plaintiff under the settlement entered pursuant to this Release and Settlement Agreement.

8. Plaintiff, upon advice of counsel, understands and agrees that in consideration of
the settlement entered pursuant to this Release and Settlement Agreement, plaintiffs do hereby
release and forever discharge on behalf of themselves and their heirs, executors, administrators
and assigns, all claims they had or has against defendants, Joseph Struck, James Breen, Edward
Winstead, Robert Girardi, Leonard Ralston and John Zalatoris, and the City of Chicago, and its
future, current, or former officers, agents and employees, including but not limited to all claims
they had, has or may have in the future, under local, state, or federal law, arising either directly
or indirectly out of the incident which was the basis for this litigation, and that such release and
discharge also is applicable to any and all unnamed and/or unserved defendants.

9. This Release and Settlement Agreement and any documents that may be executed
under paragraph 12 herein contain the entire agreement between the parties with regard to the
settlement of this action, and shall be binding upon and inure to the benefit of the parties hereto,
jointly and severally, and the heirs, executors, administrators, personal representatives,

successors, and assigns of each.

 

 
 

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10. This Release and Settlement Agreement is entered into in the State of Illinois and
shall be construed and interpreted in accordance with its laws. Terms contained herein shall not
be construed against a party merely because that party is or was the principal drafter.

11. In entering into this Release and Settlement Agreement, plaintiff represents that
he has relied upon the advice of his attorneys, who are the attorneys of his own choice, and that
the terms of this Release and Settlement Agreement have been interpreted, completely read and
explained to him by his attorneys, and that those terms are fully understood and voluntarily
accepted by plaintiff. Plaintiff also represents and warrants that no other person or entity has or
has had any interest in the claims or causes of action referred to herein, that he and his attorneys
have the sole right and exclusive authority to execute this Release and Settlement Agreement
and receive the sums specified herein, and that they have not sold, assigned, transferred,

conveyed, or otherwise disposed of any of the claims or causes of action referred to herein.

 

 
 

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. ,12.* All parties agree to cooperate fully and to execute a Stipulation to Dismiss and

any and all supplementary documents and to take all additional actions which are consistent with

and which may be necessary or appropriate to give full force and effect to the basic terms and

intent of this Release and Settlement Agreement.

on FY .
Antonio Shaw, plaintiff _,
Address: $2.77 /4 We Ww

Date of birth: HAY A oo

*SSN:

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Gregory Kulis

Attomey for plaintiff,

Antonio Shaw

Gregory Kulis & Associates, Ltd
30 N. LaSalle St., Suite 2140
Chicago, IL 60602

(312) 580-1830

Attorney No.

FEIN: 3 G- 3718 0S

DATE:3]at bas we

*Providing Social Security Number is
optional

 

 

 

 

City of Chicago
a Municipal Corporation

Stephen Patton
Corporation Counsel

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